Case 2:22-ap-01125-DS   Doc 125 Filed 12/14/22 Entered 12/14/22 12:45:17   Desc
                         Main Document     Page 1 of 5
Case 2:22-ap-01125-DS   Doc 125 Filed 12/14/22 Entered 12/14/22 12:45:17   Desc
                         Main Document     Page 2 of 5
Case 2:22-ap-01125-DS   Doc 125 Filed 12/14/22 Entered 12/14/22 12:45:17   Desc
                         Main Document     Page 3 of 5
Case 2:22-ap-01125-DS   Doc 125 Filed 12/14/22 Entered 12/14/22 12:45:17   Desc
                         Main Document     Page 4 of 5
Case 2:22-ap-01125-DS   Doc 125 Filed 12/14/22 Entered 12/14/22 12:45:17   Desc
                         Main Document     Page 5 of 5
